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                                                                                     ABBE DAVID LOWELL
                                                                                                       Partner
                                                                                               (202) 282-5000


April 24, 2023


VIA E-MAIL (Ross.Weingarten@usdoj.gov)

Ross Weingarten, Esq.
Christiaan Highsmith, Esq.
Assistant United States Attorneys
450 Golden Gate Avenue
San Francisco, CA 94102

Re:    United States v. Andrade Data Review

Dear Messrs. Weingarten and Highsmith:

        Following the Court’s April 18, 2023, order, we received from your office a thumb drive for our
client to review. The drive has three folders—SVE058067, SVE058075, and SVE058076—together
containing over 50GB of UFDR files, including over 2,500 chat threads made up of over 170,000
individual messages. Our review yielded 630 chat communications and 88 instant messages across the
three folders in which (i) Robert Abramoff is a participant, or (ii) “Robert Abramoff” appears in chat or
instant message body text. None of those communications is privileged. However, none include or
mention anything about Marcus Andrade, the AML Bitcoin business or anything that seems relevant to
the case. In fact, all are exchanges between and among the Abramoff family about various family issues.

        In particular, there are certain purely personal exchanges between brothers Jack and Robert about
their aged father, including health and family relationship issues, that we ask to be withheld from any
discovery production. We would further request personal identifying information, such as Robert
Abramoff’s current contact information, also be withheld where practicable. We have undertaken to
identify these specific exchanges and contact information in the enclosed log. We understood Judge
Beeler had indicated a willingness to review any materials we raised in camera and, of course, that could
assure Mr. Andrade’s counsel that there is nothing discoverable being withheld.

       Please let me know if you or the Court have any questions or if a conversation would be helpful to
the process.
                                            Sincerely,



                                            Abbe David Lowell

cc:    Richard Weber, Esq. (RWeber@winston.com)
